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CONSTRUCTION CONSULTING
ane ees herein as KENNARD
EVELOPMENT GROUP)

UNITED STATES DISTRICT COURT

PMCM CONSULTING ENGINEERS,
a California corporation,

Plaintiffs,

KENNARD DEVELPMENT GROUP,
a maine corporation; and DOES 1-

(SKx-Courtroom 23)

 

 

4815-7268-3339.1

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CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

REGINALD WRIGHT, an individual; CASE NO. 2:16-cv-5707

VS. STIPULATION RE DISMISSAL

Defendants. The Hon. Michael W. Fitzgerald, MWF

Trial Date: September 19. 2017

IT IS HEREBY STIPULATED by and between the parties to Reginald
Wright, et al. v. Kennard Development Group, et al., Case No. 2:16-cv-5707,
Plaintiffs REGINALD WRIGHT and PMCM CONSULTING ENGINEERS
(collectively “Plaintiffs”) and Defendant THE KENNARD DEVELOPMENT
GROUP dba KDG CONSTRUCTION CONSULTING (“Defendant”) (collectively
the “Parties”), by and through their respective attorneys of record, that this case be

 

 

STIPULATION RE DISMISSAL

 
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dismissed in its entirety, with prejudice, pursuant to Federal Rules of Civil

Procedure, Rule 41(a)(1).

DATED: july (, 2017

DATED: July 19, 2017

4815-7268-3339.]

MUNDELL, ODLUM & HAWS, LLP

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Sones for Plaintiffs REGINALD
WRIGHT and PMCM CONSULTING
ENGINEERS

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Attorneys for Defendant THE KENNARD
DEVELOPMENT GROUP dba KDG
CONSTRUCTION CONSULTING
(erroneously sued herein as KENNARD
DEVELOPMENT GROUP)

 

 

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STIPULATION RE DISMISSAL

 
